 Case 2:23-cv-00311-JRG Document 22 Filed 10/26/23 Page 1 of 3 PageID #: 196




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

CYBOENERGY, INC.,

             Plaintiff,

       v.                                           Civil Action No. 2:23-cv-00311-JRG

HOYMILES POWER ELECTRONICS                          JURY TRIAL DEMANDED
USA, INC.,

             Defendant.


            DEFENDANT HOYMILES POWER ELECTRONICS USA, INC.’S
                RULE 7.1 CORPORATE DISCLOSURE STATEMENT

       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Defendant Hoymiles Power

Electronics USA, Inc. (“Hoymiles”) through its counsel, states as follows:

       Hoymiles is a wholly-owned, direct subsidiary of Hoymiles Power Electronics, Inc.

Hoymiles Power Electronics, Inc. is a publicly traded corporation organized under the laws of the

People’s Republic of China. No publicly held company owns 10% or more of Hoymiles Power

Electronics, Inc.’s stock.

                                                Respectfully submitted,
Dated: October 26, 2023
                                                /s/ Darlene F. Ghavimi
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Case 2:23-cv-00311-JRG Document 22 Filed 10/26/23 Page 2 of 3 PageID #: 197




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 Case 2:23-cv-00311-JRG Document 22 Filed 10/26/23 Page 3 of 3 PageID #: 198




                               CERTIFICATE OF SERVICE
       I hereby certify that a true and correct copy of the foregoing document has been served

on all counsel of record via the Court’s ECF system on October 26, 2023.

                                                        /s/ Darlene F. Ghavimi
                                                        Darlene F. Ghavimi
